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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                                    No. CR 18-4176 JB

STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF,
NADER KHALAF,
NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR

                Defendants.


DEFENDANTS’ STIPULATED MOTION TO VACATE MOTION HEARING SET FOR
                      JUNE 24, 2019 (DOC. 65)

         COMES NOW, Defendants, by and through respective undersigned counsel of record

and hereby respectfully move the Court for an order vacating the Motion Hearing currently

scheduled for June 24, 2019 at 8:30 a.m. before the Court (Doc. 65). As grounds, Defendants

state:

1.       On June 22, 2019, Defendants Al-Zuni Global Jewelry, Ind., Nashat “Nash” Khalaf and

Zaher Mostafa filed their Joint Motion to Dismiss Count III of the Indictment and/or Motion for

a Bill of Particulars (Doc. 57);

2.       On June 5, 2019, the government filed its response to this motion (Doc. 60);

3.       The Court entered an order in this matter setting a Hearing related to this motion for June

24, 2019 (Doc. 65);

4.       At this time, Defendants and the government are actively working towards a resolution of

this matter and would like to continue to work towards that end.
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5.     AUSAs Kristopher Houghton and Sean Sullivan were contacted and stipulate to the

requested relief;

6.     Thus, good grounds exist for vacating the Motion Hearing set for June 24, 2019 pursuant

to US v Toombs, 574 F.3d 1268 (10th Cir. 2009);

7.     Pursuant to 18 U.S.C. §3161(h)(7)(A), the Defendants’ need for vacating the Motion

Hearing set for June 24, 2019 is in the best interests of justice and outweighs the best interests of

the public and the Defendant in a speedy trial. Pursuant to 18 U.S.C. §3161(h)(7)(B)(iv),

vacating the Motion Hearing set for June 24, 2019 will allow the reasonable time necessary to

allow the parties the opportunity to continue in their efforts to use their and the Court’s resources

efficiently by attempting to resolve the case, taking into account the exercise of due diligence;

8.     The parties respectfully request that the Court find, pursuant to 18 U.S.C. §3161(h)(7)(A)

that, if the Court grants this motion, all time between the date of the order vacating the hearing

and the next scheduled hearing date (if necessary) be excluded for purposes of the Speedy Trial

Act;

9.     Based upon a balancing of those considerations, the interests of the parties would not be

prejudiced by vacating the Motion Hearing set for June 24, 2019. Indeed, the interests of justice

would be substantially advanced by vacating the hearing for the reasons set forth above;

10.    Counsel also respectfully submit that vacating the Motion Hearing set for June 24, 2019

as requested herein is necessary to provide effective assistance of counsel to Defendants, and a

denial of the extension and continuance would deny Defendants the time required to enable the

government and Defendant to pursue settlement negotiations, and to prepare a proper defense.




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     For the foregoing reasons, the Defendants respectfully request that the Court enter an Order

vacating the Motion Hearing currently scheduled for June 24, 2019 at 8:30 a.m. before the Court

(Doc. 65).



                                     Respectfully submitted,



                                     AHMAD ASSED & ASSOCIATES

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I HEREBY CERTIFY that a true and correct
copy of the foregoing was delivered electronically
to parties of record, via the CM/ECF system,
on this 19th day of June, 2019.

      /s/                       .
Ahmad Assed, Esq.
Attorney at Law




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